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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

YVONNE BROWN,                   *
                                *
          Plaintiff,            *
                                *
      v.                        *                    1:20-CV-00999-ELR
                                *
VINING’S FINE WINE & DELI,      *
INC.,                           *
                                *
          Defendant.            *
                                *
                           _________

                                     ORDER
                                     _________

      Presently before the Court is the Parties’ “Consent Motion to Lift Stay.”

[Doc. 41]. By their instant motion, the Parties represent that they have reached a

settlement in principle. [Id. at 2]. Thus, the Parties now make two (2) requests.

First, they ask this Court to lift the stay of proceedings implemented by the

undersigned’s December 22, 2020 Order, so that they “may submit their settlement

to the Court for its approval and dismissal of this case.” [See id.; see also Doc. 38].

Second, the Parties request “that the Court enter an Order . . . directing the Clerk to

administratively close this case . . . and permitting the Parties thirty (30) days to

submit dismissal documents.” [Doc. 41 at 2–3].
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       Accordingly, for good cause shown, the Court GRANTS the Parties’

“Consent Motion to Lift Stay.” [Doc. 41]. Thus, the Court LIFTS the previously

imposed stay and DIRECTS the Clerk to ADMINISTRATIVELY CLOSE this

case.1 The Parties shall file a stipulation of dismissal upon finalization of the

settlement documents, no later than thirty (30) days from the date of this order. If

settlement fails, the Parties should promptly move to reopen the case.

       SO ORDERED, this 23rd day of March, 2021.



                                                      ______________________
                                                      Eleanor L. Ross
                                                      United States District Judge
                                                      Northern District of Georgia




1
  The Court notes that administrative closure will not prejudice the rights of any Party to this
litigation. A Party need only file a motion to reopen the case if they so choose.

                                                 2
